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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No: 1:07-CR-264

v                                                            HON. JANET T. NEFF

AMANDA KAY GRUBE,

               Defendant.
                                          /


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1. The Report and Recommendation of the Magistrate Judge (Dkt 60) is approved and

adopted as the opinion of the Court.

        2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Count 1 of the Indictment.

        3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: January 3, 2008                               /s/ Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge
